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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                    )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )      No. 18-CV-5369
                                            )
CAMBIUM NETWORKS, INC.                      )      Judge Feinerman
CAMBIUM NETWORKS, LTD.                      )
BLIP NETWORKS, INC.                         )
WINNCOM TECHNOLOGIES, INC.,                 )
SAKID AHMED, and                            )
DMITRY MOISEEV,                             )
                                            )
              Defendants.                   )

AGREED MOTION FOR AN EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip Networks, Inc.,

Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev move for an extension of time

in which they may respond to the Complaint in this action.

       1.     Ubitquiti Networks, Inc. filed this action on August 7, 2018. (DKT #1.)

       2.     Cambium Networks, Inc. and Blip Networks, LLC were served on August 10,

2018. Accordingly, their responsive pleadings are due August 31, 2018. (DKT #8 and #10.)

       3.     Winncom Technologies, Inc. was served on August 13, 2018. Accordingly, its

responsive pleading is due September 4, 2018. (DKT # 11.)

       4.     Cambium Networks, Ltd. and Sakid Ahmed were served on August 15, 2018.

Accordingly, their responsive pleadings are due September 5, 2018. (DKT #9 and #12.)

       5.     The docket shows that Dmitry Moiseev was served on August 22, 2018.

Accordingly, his responsive pleading is due September 12, 2018. (DKT # 13.)
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       6.      All defendants have retained Baker Botts, LLP to represent them in this action,

and the Baker Botts attorneys anticipate seeking leave to appear pro hac vice in the near future.

All defendants also have retained Michael Best & Friedrich, LLP as local counsel.

       7.      Defendants intend to move to dismiss all claims against all defendants.

       8.      Counsel for plaintiff has agreed to a 45 day extension of time for all defendants to

respond to the Complaint, which shall be measured from the date that Cambium Networks, Inc.

and Blip Networks, LLP’s responsive pleading currently is due. That extension would provide

all defendants until October 15, 2018 to respond to the Complaint.

       9.      This agreed upon extension will allow defense counsel to prepare motions

addressing issues raised by the Complaint as to all defendants, and will assist in the ease of

administration by placing all defendants on the same responsive pleading schedule.

       Accordingly, Defendants respectfully request that this Court enter an order granting each

of them until October 15, 2018 to answer or otherwise plead to the Complaint filed in this action.

A copy of a proposed order is submitted with this motion.

                                     Respectfully Submitted

                                     CAMBIUM NETWORKS, INC.,
                                     CAMBIUM NETWORKS, LTD.,
                                     BLIP NETWORKS, INC.,
                                     WINNCOM NETWORKS, INC.,
                                     SAKID AHMED, and DMITRY MOISEEV

                                     By: /s/ James P. Fieweger
                                            One of their attorneys
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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2018, I electronically filed the foregoing Agreed
Motion for an Extension of Time to Respond to Complaint with the Clerk of the Court using
the CM/ECF system. I certify that all participants in the case are registered CM/ECF users




                                          /s/ James P. Fieweger
